Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 1 of 80
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 2 of 80




                                                TABLE OF CONTENTS

I.     Google Search ......................................................................................................................4
       A.         Origin and Evolution of Google Search...................................................................4
       B.         Google’s Search Results Design ..............................................................................7
       C.         Google’s Evaluation and Launch Process..............................................................12
II.    Challenged Specialized Search Results Designs ...............................................................15
       A.         Hotels .....................................................................................................................15
                  1.         Origin and Evolution..................................................................................17
                  2.         How Google’s Hotels Unit Works .............................................................22
       B.         Flights ....................................................................................................................26
                  1.         Origin and Evolution..................................................................................28
                  2.         How Google’s Flights Unit Works ............................................................30
       C.         Local ......................................................................................................................33
                  1.         Origin and Evolution..................................................................................35
                  2.         How Google’s Local Unit Works ..............................................................38
       D.         Local Services Ads ................................................................................................40
                  1.         Origin and Evolution..................................................................................42
                  2.         How Local Services Ads Work..................................................................45
       E.         Movies....................................................................................................................46
                  1.         Origin and Evolution..................................................................................47
                  2.         How Google’s Movies Unit Works ...........................................................48
       F.         Events .....................................................................................................................50
                  1.         Origin and Evolution..................................................................................52
                  2.         How Google’s Events Unit Works ............................................................52
III.   Challenged Data Agreements ............................................................................................54
IV.    General Search Engine Specialized Search Results and Partnerships ...............................56
       A.         Other General Search Engines Offer Specialized Search Results .........................56
       B.         GSE-SVP Partnerships ..........................................................................................57
V.     Advertisers’ Options for Buying Online Advertising ........................................................59
VI.    Google’s SA360 and Other SEM Tools.............................................................................62
       A.         Advertisers’ Search Advertising Spend on SA360 ................................................64
       B.         Requirements for SEM Tool Providers and Other Parties to Access Search
                  Engine APIs ...........................................................................................................65


                                                                    2
Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 3 of 80
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 4 of 80




       Pursuant to Civil Rule 7(h) of the Rules of the United States District Court for the District

of Columbia, Defendant Google LLC hereby submits the following statement of material facts as

to which it contends there is no genuine issue. This statement is being submitted in support of

Google’s motion for summary judgment as to the claims asserted in only State of Colorado, et al.

v. Google LLC, No. 1:20-cv-03715-APM.1

I.     Google Search

       A.      Origin and Evolution of Google Search

       1.      Google launched its search engine in 1998. GOOG-DOJ-09300673 at -684 (Ex. 1).

       2.      Google displays relevant results for all types of user queries on its search engine

results page (SERP). See GOOG-DOJ-09300673 at -682 (Ex. 1).

       3.      In the early days of Google Search, Google surfaced on its SERP only web

results, also known as the “ten blue links”—plain text hyperlinks to webpages for which Google

does not receive any payment, ranked according to relevancy and quality. GOOG-DOJ-

03209307 at -308 (Ex. 2).

       4.      In 2000, Google introduced text ads, which are paid advertisements relevant to a

query that has been entered, that appear on the SERP and contain a link to the advertiser’s website.

GOOG-DOJ-09300673 at -684 (Ex. 1); About Text Ads, https://support.google.com/google-

ads/answer/1704389?hl=en (last accessed Dec. 10, 2022) (Ex. 3).

       5.      Beginning in the early 2000s, in addition to web results and text ads, Google

developed and began to show specialized results in a variety of different formats on the SERP,




1
 Google incorporates by reference herein its concurrently-filed Statement of Material Facts As
To Which There Is No Genuine Issue In Support of Its Motion For Summary Judgment (ECF
No. 423), as to Colorado Plaintiffs’ claims regarding Google’s search distribution agreements.
See Mem. In Supp. of Mot. for Summ. J. at 3.

                                                 4
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 5 of 80




including specialized or “vertical” units for certain categories of information. See GOOG-DOJ-

03209307 at -309 (Ex. 2); Reid (Google) Decl. ¶ 7 (Ex. 4).

       6.      “Vertical” units refer to results organized around “particular segments of queries

or intent that the user has around particular lines of business or particular interests that they

have.” Holden (Google) Tr. 36:18-37:4 (Ex. 5). For example, Google offers a hotels unit

organized around hotel listings in a specified location in response to the query. See Holden

(Google) Decl. ¶¶ 8, 11 (Ex. 6).

       7.      Google’s unpaid search results, including any specialized units, are triggered and

ranked by Google’s algorithms according to relevance based on the user’s intent as expressed

through their query, the quality of the result, and other signals. GOOG-DOJ-09300673 at -681

(Ex. 1); Google’s Resp. to Colo. Pls. 3rd Interrogs. at 14-16 (Ex. 7).

       8.      For example, for the query “hotels in Washington DC,” Google may show a

SERP with the following:

            a. Search text ads, often at the top of the page, with hyperlinks to the advertisers’
               websites,




            b. A specialized unit known as a hotels unit,2 and




2
  Google often refers to the elements of its specialized results that appear on its SERP as “units,”
which contain structured information in summary form from a specific category. See Google’s
2nd Supp. Resp. to Colo. Pls. 3rd Interrogs. at 2-8 (Ex. 8).


                                                   5
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 6 of 80




            c. Web results. Web results today can include snippets of text from the website,
               hyperlinks to specific pages in the website, and other information such as photos
               where applicable.




See generally Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BA.1.a (Ex. 9).

       9.      Each time the user enters a query, Google’s SERP may look different, including

which specialized units appear, based on what information Google’s algorithms determine is

most relevant to the user’s query. How Google organizes information to find what you’re

looking for, https://blog.google/products/search/how-google-organizes-information/ (last

accessed Dec. 10, 2022) (Ex. 10).




                                                6
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 7 of 80




       B.      Google’s Search Results Design

       10.     Over the past twenty years, Google has developed and introduced specialized

results in subject areas as varied as weather, sports, language, education, civics, events, media

(movies, TV, music, lyrics), books, travel, local, shopping, and more. Fox (Google) Tr. 262:14-

263:4; 267:4-12 (Ex. 11); GOOG-DOJ-09300673 at -684 (Ex. 1).

       11.     Google launched its specialized units to provide users with information related to

a specific category of information Google interprets the user to be seeking, beyond links to

webpages or snippets of crawled content from the web. Reid (Google) Decl. ¶ 8 (Ex. 4); see also

Raghavan (Google) Tr. 610:1-8 (Ex. 12).

       12.     As an example, the impetus behind Google’s 2002 launch of News, Google’s first

specialized unit, was the 9/11 terrorist attacks. This innovation was motivated by the difficulty

Google users experienced in finding breaking news about the 9/11 terrorist attacks, during which

Google’s search results mainly displayed results to webpages with general information about the

World Trade Center. Search Through Time,

https://www.google.com/search/howsearchworks/our-history/ (last accessed Dec. 10, 2022).

       13.     To address this, Google created specialized results that offered a better way to

present news to users by, among other things, emphasizing fresh results or a sudden change in

information about a topic that might reflect a significant news event. Search Through Time,

https://www.google.com/search/howsearchworks/our-history/ (last accessed Dec. 10, 2022).

       14.     In 2007, Google transitioned to “universal search,” where it surfaced, in dynamic

positions, different specialized units such as videos, images, books, and news, on the same SERP

alongside web results and other elements. GOOG-DOJ-09300673 at -696 (Ex. 1); GOOG-DOJ-

03209307 at -310 (Ex. 2); Reid (Google) Decl. ¶ 9 (Ex. 4). Prior to that, specialized units were

located in fixed positions on the SERP. Reid (Google) Decl. ¶ 9 (Ex. 4). A key innovation in


                                                 7
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 8 of 80




universal search was that it enabled specialized units to dynamically “float” on the page in

positions alongside web results and other elements. Reid (Google) Decl. ¶ 9 (Ex. 4).

       15.     Whether a specialized unit triggers at all, and where it is displayed on a SERP, is

algorithmically determined based on many signals, including relevance to the user versus other

information that Google has determined may be responsive to the user’s query. Google’s Resp.

to Colo. Pls. 3rd Interrogs. at 14-16 (Ex. 7); see Reid (Google) Decl. ¶ 10 (Ex. 4). Other signals

include the quality of the data provided. Holden (Google) Tr. 90:9-17 (Ex. 5).

       16.     Google’s specialized units present users with structured information about a

specific topic. In the case of Google’s Weather vertical (first launched in 2006), for example,

structured information is in the form of temperature associated with current time, instead of just a

weblink to a website about the weather. Reid (Google) Tr. 12:20-13:8 (Ex. 13); GOOG-DOJ-

09300673 at -684 (Ex. 1).

       17.     Presenting structured information to users makes it easier, in certain instances, for

users to “glance and understand” the information they seek. Reid (Google) Tr. 12:20-13:8 (Ex.

13).

       18.     Google engineer and Senior Vice President for Search and Ads Prabhakar

Raghavan explained that this sort of structured or “packaged” information “enjoys a much better

user approval” than just seeing “blue link after blue link after blue link” for certain queries,

Raghavan (Google) Tr. 610:1-14 (Ex. 12), and that consistent and extensive user research

indicates that when users come to Google with a specific query, in many cases, they prefer to see

the answer itself to the query. Raghavan (Google) Tr. 608:1-19 (Ex. 12).

       19.     Emily Moxley, Google engineer and former Senior Director of Product

Management for Search, testified that Google determined that including specialized units on the




                                                  8
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 9 of 80




SERP in addition to web results satisfies user intent3 by answering multiple informational needs

in one place. Moxley (Google) Tr. 92:15-21, 164:12-23 (Ex. 15).

        20.     Certain specialized units link to associated “immersive” pages that provide further

information about that particular topic. Google shows the immersive when the user clicks on

certain aspects of a unit (for instance, a link to display more hotel or flight results), and it is

designed to provide users more information about that particular topic. Moxley (Google) Tr.

79:14-16 (Ex. 15); see also Google’s 2nd Supp. Resp. to Colo. Pls. 3rd Interrogs. at 2-8 (Ex. 8).

        21.     Google engineer Emily Moxley testified that Google designs immersive pages

where Google’s user research shows that user intents include to browse or search over a corpus

of information about that particular topic. Moxley (Google) Tr. 79:25-80:24 (Ex. 15).

        22.     Certain specialized units and immersives may also link to “detail pages” or

“placesheets” containing additional information associated with the vertical, as appropriate, such

as about particular hotels, flight options, local entities, or local service providers. See Google’s

2nd Supp. Resp. to Colo. Pls. 3rd Interrogs. at 2-8 (Ex. 8).

        23.     Google continues to develop additional specialized units with the aim of further

improving the user experience. GOOG-DOJ-09300673 at -684 (Ex. 1); Moxley (Google) Tr.

15:17-23, 169:17-23 (Ex. 15).

        24.     Vice President of Search Nick Fox explained that in determining whether to

launch a new specialized unit, Google considers, among other factors, the degree of user need

around that information category, how well the existing experience is serving users, whether




3
 “User intent” refers to the goal or intention of the user when entering a query. Fitzpatrick
(Google) Tr. 188:11-18 (Ex. 14).


                                                    9
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 10 of 80




there is potential to better improve the user experience, and revenue potential. Fox (Google) Tr.

280:2-24 (Ex. 11); see also Raghavan (Google) Tr. 568:1-569:3 (Ex. 12).

       25.     Richard Holden, Vice President of Product Management for Travel, testified that

Google launched its vacation rentals unit because it saw a “growth in users considering other

forms of lodging content” and wanted to “remain relevant to users and offer them information

for queries related to vacation rental content.” Holden (Google) Tr. 161:8-15 (Ex. 5).

       26.     Any time Google introduces a new unit to the SERP, it has to consider myriad

factors like, for example, how to most effectively use limited “real estate” (a user’s device does

not provide unlimited space in which to present information) and how to minimize any additional

latency resulting from the unit. Moxley (Google) Decl. ¶ 5 (Ex. 16); Gomes (Google) Tr.

348:20-349:18 (Ex. 17).

       27.     Google designs its specialized results and presentation of content to serve user

needs in that specific information category; this may lead to different designs for different

information categories. Moxley (Google) Decl. ¶ 4 (Ex. 16).

       28.     For example, in 2006, Google started showing live sports scores and schedule

information as part of its sports specialized unit alongside web results in response to queries for

score information for an ongoing game. Moxley (Google) Tr. 30:2-8 (Ex. 15); GOOG-DOJ-

09300673 at -684 (Ex. 1).

       29.     Similarly, Google determined that showing price and availability information for

hotel stays would better satisfy the needs of users searching for hotels than weblinks and text ads

alone. Holden (Google) Decl. ¶ 15 (Ex. 6).




                                                 10
         Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 11 of 80




         30.      Sources of information for Google’s specialized results include third-party data

feeds, user and merchant generated content, markups submitted by webmasters,4 and crawled

websites. See Fitzpatrick (Google) Tr. 146:8-147:2 (Ex. 14); Moxley (Google) Decl. ¶ 4 (Ex.

16).

               a. Third-party data feeds refer to structured data (i.e., data that is in a standardized

                  format that allows for easier importation and use) from third parties submitted to

                  Google via a feed-based infrastructure. Moxley (Google) Decl. ¶ 4 (Ex. 16).

               b. User-generated content refers to content contributed by a Google user directly to

                  Google; for example, providing a photo of a park nearby. See Moxley (Google)

                  Tr. 73:13-18 (Ex. 15).

               c. Merchant-generated content refers to content submitted by businesses directly to

                  Google via Business Profile (formerly known as Google My Business); for

                  example, a restaurant could update its hours or delivery information. Fitzpatrick

                  (Google) Tr. 45:12-23 (Ex. 14).

               d. Markups refer to information submitted by webmasters via schema.org, which

                  creates structured information on a webpage that can be identified by search

                  engines for display including in certain specialized results. See Moxley (Google)

                  Tr. 81:11-16 (Ex. 15).

               e. Crawled websites refer to websites that Google’s crawler had “crawled” for

                  possible use in Google’s index. Fitzpatrick (Google) Tr. 145:6-16 (Ex. 14).




4
    A “webmaster” refers to the person(s) responsible for maintaining a website.


                                                     11
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 12 of 80




       31.       Google has developed specific algorithms to determine the relevance of the

results within a specialized unit. Google’s Resp. to Colo. Pls. 3rd Interrogs. at 14-16 (Ex. 7);

Moxley (Decl. ¶ 6 (Ex. 16).

       32.       Some of Google’s specialized units contain advertising products where Google

has determined a specialized advertising format would be useful to users and advertisers. See,

e.g., Spalding (Google) Tr. 18:12-15; 104:7-16 (Ex. 18) (describing Local Services Ads); Holden

(Google) Decl. ¶ 17 (Ex. 6) (Hotel Ads); Reid (Google) Decl. ¶ 18 (Ex. 4) (Local Search Ads).

       C.        Google’s Evaluation and Launch Process

       33.       Google strives to continue to improve upon its SERP. Google engineer and

former Senior Vice President of Geo Jen Fitzpatrick explained that “Google search is under

constant need to evolve and improve” in response to “changing user expectations, changing

nature of what’s possible with technology, changing . . . behavior and capabilities.” Fitzpatrick

(Google) Tr. 84:13-22 (Ex. 14).

       34.       Google engineer Jen Fitzpatrick explained that Google “absolutely need[s] to

keep innovating in Search, and that’s something we work very, very hard to do all the time.”

Fitzpatrick (Google) Tr. 84:13-85:4 (Ex. 14).

       35.       Google engineer and Vice President of Search Elizabeth Reid explained that when

Google builds products, it tries to make sure that its products will serve users. Reid (Google) Tr.

260:2-9 (Ex. 13); GOOG-DOJ-09300673 at -684 (Ex. 1).

       36.       Before launching a change Google analyzes whether the potential launch will,

based on Google’s metrics, improve the search experience for Google’s users. GOOG-DOJ-

09300673 at -686 (Ex. 1); GOOG-DOJ-29791115 at -116 (Ex. 19); Nayak (Google) Tr. 34:18-

35:8 (Ex. 20).




                                                12
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 13 of 80




       37.     Google employs over 10,000 human Search Quality Raters. Nayak (Google) Tr.

130:9-12 (Ex. 20).

       38.     In 2021 alone, Google conducted over 750,000 search quality tests, 72,000 side-

by-side experiments, 11,000 live traffic experiments, and 4,300 launches. See Improving Search

with rigorous testing, https://www.google.com/search/howsearchworks/how-search-

works/rigorous-testing/ (last accessed Dec. 10, 2022) (Ex. 21).

       39.     Google evaluates a potential launch using both qualitative and quantitative inputs

including (as appropriate and relevant to the launch) feedback from external Search Quality

Raters, live user tests, and traffic analyses. GOOG-DOJ-09300673 at -686 (Ex. 1); GOOG-DOJ-

29791115 at -116 (Ex. 19).

       40.     For example, Google will send side-by-side comparisons of the existing results

and the results with the proposed launch to its external Search Quality Raters. GOOG-DOJ-

09300673 at -686 (Ex. 1); Nayak (Google) Tr: 52:1-23, 136:10-138:9 (Ex. 20).

       41.     The Search Quality Raters evaluate the results according to Google’s search

quality rater guidelines. GOOG-DOJ-09300673 at -688 (Ex. 1); GOOG- DOJ-17681606 (Ex.

22); Nayak (Google) Tr. 128:6-129:4 (Ex. 20).

       42.     Search Quality Raters evaluate changes to Google’s search results in the context

of the other results on the page, and are instructed by Google that “the most important

consideration is how helpful each result set is as a whole.” GOOG-DOJ-17681606 at -609 (Ex.

22) (emphasis added).

       43.     Google further instructs its Search Quality Raters, among other things, that

“[u]sers should find what they are looking for” and “[u]sers should get the best results in the

most helpful order.” Google further instructs about the importance of the SERP providing users




                                                13
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 14 of 80




with a “Diversity of results”: “[t]he results in the set should work together to address different

aspects of query interpretation/user intent and provide a helpful collection of resources for

users,” while true duplicate results “may be useless” and near duplicates “may or may not add

value.” GOOG-DOJ-17681606 at -609, -610 (Ex. 22).

       44.     The Search Quality Raters provide feedback on Google’s search results by

assigning ratings or scores to the results. Nayak (Google) Tr. 139:13-140:3 (Ex. 20); GOOG-

DOJ-17681606 (Ex. 22).

       45.     Another way in which Google evaluates whether to implement a change to its

search results is live user tests, whereby Google sends search results that include the change to a

fraction of its existing users and evaluates how those changes perform with those users. GOOG-

DOJ-09300673 at -686 (Ex. 1); Nayak (Google) Tr. 136:25-138:17 (Ex. 20).

       46.     Google aggregates the feedback from Search Quality Raters and user testing (as

applicable) in a launch report. Nayak (Google) Tr. 136:25-138:17 (Ex. 20); see, e.g., GOOG-

DOJ-00515037 (Ex. 23) (example of a launch report); see also GOOG-DOJ-29791115 at -116

(Ex. 19).

       47.     Key metrics Google uses for launches, including for new specialized units,

include metrics indicating an improved whole-page experience, such as how users interact with

the entire results page as well as individual parts of the page. GOOG-DOJ-29791115 at -

126, -142 (Ex. 19); Reid (Google) Decl. ¶ 11 (Ex. 4); Moxley Decl. ¶ 8 (Ex. 16); see also Reid

(Google) Tr. 144:18-145:2 (Ex. 13).

       48.     Google has a Launch Committee that is responsible for approving launches. The

Launch Committee includes engineer, Google Fellow and Vice President of Search Pandu




                                                 14
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 15 of 80




Nayak, the lead of Google’s ranking team, and other Google search engineers. Nayak (Google)

Tr. 33:25-35:8 (Ex. 20).

       49.     Google’s Launch Committee reviews the results of Google’s quality tests in light

of Google engineers’ experience in evaluating search quality, and decides whether to launch the

change. Nayak (Google) Tr. 33:25-35:8, 136:10-138:24 (Ex. 20).

       50.     As part of the launch process, the team advocating for the launch must “prove that

[the launch] actually is beneficial to our users in some way.” Nayak (Google) Tr. 34:18-24 (Ex.

20). As a Google “How Search Works” presentation put it, “[u]nless we can show a change is

actually better for users, we don’t launch it.” GOOG-DOJ-09300673 at -687 (Ex. 1).

       51.     Google measures whether its launches lead to growth in Google Search usership.

GOOG-DOJ-29791115 at -135 (Ex. 19). Google’s analyses have “confirmed good correlation

between user experience and growth.” Id.; see also id. at -133-34.

       52.     After a launch, Google often conducts tests and surveys to understand how

helpful its users find the change. Moxley (Google) Tr. 118:6-25 (Ex. 15).

       53.     One type of test Google uses is called an “ablation study,” in which Google turns

off or removes a feature from its search results in order to measure the difference in quality

between its search results with that feature and its search results without it. See Nayak (Google)

Tr. 175:18-176:1 (Ex. 20).

       54.     Google uses the results of the user tests and ablation studies to assess how a

change affects the user experience. Moxley Decl. ¶ 10 (Ex. 16).

II.    Challenged Specialized Search Results Designs

       A.      Hotels

       55.     When Google’s algorithms detect, based on the user’s query, that the user is

looking for information about hotels, Google may serve a SERP containing a hotels unit, among


                                                15
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 16 of 80




other SERP elements (such as text advertisements and web results). See Para. 56 (image of

hotels unit); Holden (Google) Decl. ¶ 8 (Ex. 6).

       56.     The design of the SERP may vary depending on the query, but the hotels unit

depicted below is typical for queries like “hotels in” a location, from a desktop computer.5

Holden (Google) Decl. ¶ 9 (Ex. 6).




       57.     For such hotel-related queries, the web results, as well as the text advertisements

(if any), on the SERP may include SVPs. Holden (Google) Decl. ¶ 10 (Ex. 6).

       58.     Google’s design of the hotels unit like the one pictured above provides users with

near-instantaneous structured information about hotels, including:

               a. a map of hotel properties in the specified location;

               b. a list of up to four hotel properties as determined by Google’s algorithms;

               c. an image, price, star rating, and other information about the hotel property that

                   correspond to the dates; and


5
  See Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BA.1.f (Ex. 9) for image of hotels unit on
a mobile device.

                                                   16
         Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 17 of 80




                 d. options to refine the search (dates, “top rated,” “budget,” etc.) and links to

                      Google’s hotels immersive, where users can find further information and

                      refine their hotel search.

Holden (Google) Decl. ¶ 11 (Ex. 6).

                 1.       Origin and Evolution

          59.    Google began developing hotel search results using structured data in

approximately 2009, GOOG-DOJ-16094322 at -323 (Ex. 24), and launched an early version of

its hotels unit, then known as Hotel Finder, in 2011. GOOG-DOJ-25917044 at -044 (Ex. 25);

Holden (Google) Decl. ¶ 17 (Ex. 6).

          60.    Google determined that it could provide a better search experience to users than

only displaying text ads, web results, and the limited information about hotels available in the

local unit6—from which users would need to further search for hotel availability and pricing.

Holden (Google) Tr. 41:15-42:8 (Ex. 5); GOOG-DOJ-25917044 at -044 (Ex. 25); GOOG-DOJ-

16094322 at -325 (Ex. 24).

          61.    In 2009, Google recognized that “[u]ser needs [were] not being met,” and that

there was “[n]o current solution.” GOOG-DOJ-16094322 at -348 (Ex. 24). Google observed

that it “takes 25-50 websites to do research for one vacation,” and Google was “add[ing] little

value” because on Google at that time, users were just “search[ing] for a place to search.” Id.

          62.    Google thus recognized there was “lots of space for innovation” for travel search,

and that it could “transform the travel experience” with user benefits including “[i]mprovements

in speed” and “[i]mproved user experience.” GOOG-DOJ-16094322 at -326, -333 (Ex. 24).




6
    The local unit is described below in Part II.C, Paragraphs 130-134, 157-162.

                                                   17
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 18 of 80




       63.     In developing its hotels unit and immersive, Google confronted the engineering

challenge of data “fragmentation,” and sought to “build out a caching layer that intelligently pre-

computes all the various permutations [of hotel stays], and make all of this queryable at Google

speed.” GOOG-DOJ-04353653 at -354 (Ex. 26).

       64.     In 2011, as part of the early development of Google’s hotels unit, Google

introduced the ability to provide users hotel prices in its local unit. Google’s analyses

demonstrated that 65.7% of users found the prices in the local unit “very useful” and an

additional 28.5% of users found them “somewhat useful.” GOOG-DOJ-00298158 at -158 (Ex.

27).

       65.     Members of the Google Travel team observed in 2011 that “[h]otel searchers tend

to care about some set of attributes (location, class/stars, certain amenities, etc) and the search

process is about trading off those prioritized attributes against cost.” GOOG-DOJ-04353653

at -657 (Ex. 26).

       66.     Google also recognized that it could offer users a better advertising format for

hotel search. Holden (Google) Decl. ¶ 17 (Ex. 6). Accordingly, later in 2011, Google launched

an early form of Hotel Ads, which enabled advertisers to display a hotel room with specific dates

and pricing in response to a user search, allowing the user to make a purchase decision more

quickly. Id.

       67.     In 2013, Hotel Finder was launched on mobile devices, after Google’s analyses

reflected that its “[w]hole page and ad click quality metrics show a significant improvement

compared to [the] control.” GOOG-DOJ-24656522 at -525 (Ex. 28).

       68.     In 2014, Google replaced Hotel Finder with Rich List. GOOG-DOJ-30117105 at

-106 (Ex. 29). Rich List introduced the hotel search user interfaces that exist today (the hotels




                                                  18
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 19 of 80




unit, immersive, and detail pages), then referred to as the “3-pack,” “full list,” and “item view.”

GOOG-DOJ-30117105 at -107 (Ex. 29). Contemporaneous documents reflect that Rich List

“solves major SERP pain points,” including “[d]uplication” on the SERP. GOOG-DOJ-

30117105 at -106 (Ex. 29). At launch, Google viewed Rich List as “bring[ing] together [the]

best of existing products,” GOOG-DOJ-30117105 at -107 (Ex. 29), and observed that “[k]ey

metrics look good.” GOOG-DOJ-30117105 at -108 (Ex. 29).

       69.     In early 2015, Google analyses of the user feedback for this new Rich List hotels

unit interface showed “[o]verall very positive feedback![,]” particularly with respect to the

“[a]bility to see/interact with the map in tandem with the details of a selected hotel and switching

to a different hotel very easily.” GOOG-DOJ-27641523 at -538 (Ex. 30).

       70.     Prior to launching the hotels unit, Google conducted quality testing to evaluate

whether the hotels unit would improve user experience. Holden (Google) Decl. ¶ 5 (Ex. 6).

       71.     Google’s analyses confirmed that the hotels unit benefitted users by improving

the user experience on the SERP. Holden (Google) Decl. ¶ 5 (Ex. 6).

       72.     Google’s hotels unit now enables Google users to search for hotels, including for

a specific date range if desired, across thousands of destinations, and obtain pricing and

availability information nearly instantaneously. Holden (Google) Decl. ¶ 15 (Ex. 6).

       73.     Google has launched many improvements over the years to its hotels unit and

immersive based on the results of user testing. Holden (Google) Decl. ¶ 15 (Ex. 6).

       74.     For example, in 2017, Google introduced a project referred to as “Mayflower,” a

redesign of the hotels unit and immersive to provide a richer experience for users, “driven by

extensive user research and requirements gathering.” GOOG-DOJ-04471923 at -924 (Ex. 31);

Holden (Google) Tr. 80:8-21 (Ex. 5); Holden (Google) Decl. ¶ 19 (Ex. 6). “Plymouth” was the




                                                 19
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 20 of 80




accompanying change that improved the technical infrastructure underlying the hotel search

experience design, including the engineering capability to cluster data relating to a single hotel

(i.e., to group price, availability, and booking information from multiple sources like SVPs and

hoteliers to a single hotel). GOOG-DOJ-04471923 at -925-26 (Ex. 31).

        75.    Google surveyed its travel users in 2020 and found that        of users on desktop

and       on mobile were “very/somewhat satisfied” with the “Mayflower Immersive.” GOOG-

DOJ-20745877 at -892 (Ex. 32).

        76.    A Google Travel Strategy 2020 document described the launches of Plymouth

and Mayflower as putting Google “well down the path of building an excellent hotel search

product.” GOOG-DOJ-25917044 at -045 (Ex. 25).

        77.    Another recent improvement to Google’s hotel results was the 2021 launch of

Hotel Unpaid Booking Links (HUBL), which included unpaid booking links to SVPs and hotels

on the hotel detail page (i.e., booking links for which Google receives no payment, sometimes

also referred to as “free booking links”). Google launched this change “out of the recognition

that the current booking module experience could be improved to provide more comprehensive

hotel booking information to users.” GOOG-DOJ-20739516 at -519 (Ex. 33). Prior to the

HUBL launch, Google had offered only paid booking links in the form of Hotel Ads. Holden

(Google) Tr. 222:24-223:12 (Ex. 5); Holden (Google) Decl. ¶ 20 (Ex. 6).

        78.    Google user-tested various designs for HUBL prior to launch to determine how

best to display its new unpaid booking links and what information to include (e.g., price).

GOOG-DOJ-20739516 at -516-49 (Ex. 33).

        79.    Google’s user testing showed, among other things, that the HUBL change led to a

      increase in “very satisfied users” on desktop. GOOG-DOJ-22645229 at -236 (Ex. 34).




                                                 20
          Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 21 of 80




Google’s analyses also showed that the HUBL launch resulted in

                                                                                          GOOG-

DOJ-22645229 at -236 (Ex. 34).

          80.    Google continues to evaluate whether users are finding value in travel search

results, Holden (Google) Tr. 32:23-33:16 (Ex. 5), including through user feedback, Holden

(Google) Tr. 57:5-8 (Ex. 5) (“We get feedback from consumers all the time across various

services about what the user flow is. Some of it is qualitative; some of it is quantitative.”).

          81.    For example, Google has conducted multiple ablation studies to measure quality

improvements to its hotels unit and immersive, including analyzing the usefulness of displaying

diverse booking links, displaying price information, and including hotel suppliers alongside

SVPs. E.g., GOOG-DOJ-20745036 (Ex. 35); GOOG-DOJ-29801589 (Ex. 36).

          82.    Google has also conducted surveys to measure its users’ satisfaction with its hotel

and travel search results. E.g., GOOG-DOJ-20745877 (Ex. 32); GOOG-DOJ-04474464 at -492-

510 (Ex. 37).

          83.    Google’s analyses show that users are generally satisfied with its hotel search

results. For example, a 2016 “Hotel Happiness Tracking Survey” shows that most users were

either very satisfied or somewhat satisfied with their hotel search experience on Google.

GOOG-DOJ-20742777 at -788, -796, -807 (Ex. 38). Google also surveyed its travel users in

2020 and found that         of users on desktop and       of users on mobile were “very/somewhat

satisfied” with the Hotels Placesheet.7 GOOG-DOJ-20745877 at -881 (Ex. 32).




7
    The Hotels Placesheet is another term for the hotels detail page.


                                                  21
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 22 of 80




                2.      How Google’s Hotels Unit Works

        84.     Google obtains hotel information, price and availability, photos, and reviews from

a variety of sources, including a hotel’s own business profile, data Google obtains from crawling

and indexing the content of websites, user generated content (such as reviews and ratings), and

third parties including SVPs and suppliers pursuant to agreements. Holden (Google) Decl. ¶ 16

(Ex. 6); Google’s 3rd Supp. Resp. to Colo. Pls.’ Nov. 1, 2021 30(b)(6) Notice at 10-11 (Ex. 39).

        85.     Much of the information displayed in the hotels unit is not available from web

crawling alone, and thus would not appear elsewhere on the SERP. Holden (Google) Decl. ¶ 16

(Ex. 6).

        86.     The hotels unit as shown on the SERP does not include any advertisements.

Holden (Google) Tr. 89:22-90:4, 93:21-94:1 (Ex. 5).

        87.     The hotels listed in the hotels unit as shown on the SERP link to “hotel detail

pages,” and do not link to the websites of hoteliers or SVPs. Google’s 2nd Supp. Resp. to Colo.

Pls. 3rd Interrogs. at 4 (Ex. 8).

        88.     The hotels unit is built on Google’s Maps and Geo infrastructure, which classifies

entities based on what they are. Holden (Google) Tr. 97:12-102:05 (Ex. 5).

        89.     SVPs do not appear in the hotels unit on the SERP because they are not hotels

associated with a physical location. Holden (Google) Tr. 97:12-107:14 (Ex. 5). As discussed

below, SVPs may appear in the hotels immersive and hotel detail pages reached via the hotels

unit.

        90.     In the hotels context, Google has “clustered” information about a given hotel—

meaning that it is able to understand that a hotel associated with a physical location is the same

hotel across all websites that provide Google with booking information at that hotel. Holden

(Google) Tr. 165:13-166:3 (Ex. 5). This enables Google to “cluster” many booking links,


                                                 22
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 23 of 80




usually including both the hotel and SVPs, for any given hotel. Holden (Google) Decl. ¶ 20 (Ex.

6).

       91.     By contrast, Google’s vacation rentals unit8 serves results listing vacation rentals

associated with specific vacation rental providers because, unlike hotels which are standalone

public businesses that Google can independently verify, it is harder to accurately determine

whether multiple vacation rental providers are offering the same lodging. Holden (Google) Tr.

164:13-166:3 (Ex. 5).

       92.     The user may access the hotels immersive by interacting with the hotels unit,

including by clicking on the “view __ hotels” link. See Para. 56 (image of hotels unit); Holden

(Google) Decl. ¶ 11 (Ex. 6).

       93.     As depicted below, Google’s hotels immersive provides additional hotel listings,

information, and search capabilities—including the ability to filter a hotel search by, inter alia,

location, price, class, user ratings, and amenities.




8
  See Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. 21 (Ex. 9) for image of Google’s vacation
rentals unit.

                                                  23
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 24 of 80




See Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BA.1.b & BA.1.d (Ex. 9).9

       94.     The listing of hotels in the hotels immersive may contain “property promotion”

ads that can be purchased by hotels or SVPs that direct users to book with the hotelier or SVP

that purchased the ad. See Para. 93 (image of hotels immersive); see also Holden (Google) Tr.

128:9-24, 274:6-275:3 (Ex. 5).

       95.     The user may click on a hotel listing from either the hotels unit or immersive to

view the detail page for that hotel. Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BA.1.c. &

BA.1.d (Ex. 9).

       96.     The detail page displays additional information, such as contact information for

the hotel, information about the location, user reviews, photos and (where available) booking

links (both paid and unpaid), including links to SVPs. See Amaldoss (Colo. Pls.’ Expert) Tr.

181:14-182:10 (Ex. 40); Amaldoss (Colo. Pls.’ Expert) Dep. Ex. 6 (Ex. 41); Amaldoss (Colo.

Pls.’ Expert) Dep. Ex. 7 (Ex. 42). In the screenshots below, paid booking links are labeled as

“Ads” and unpaid booking links are listed under “All options.” Clicking on “view more options”

will show a user all booking links Google has available. See Amaldoss (Colo. Pls.’ Expert) Tr.

189:6-190:2 (Ex. 40); Amaldoss (Colo. Pls.’ Expert) Dep. Ex. 7 (Ex. 42).




9
  See Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BA.1.g (Ex. 9) for image of hotels
immersive on a mobile device.

                                                24
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 25 of 80




       97.    The diversity of booking links enables users to choose among an array of options

to book a hotel room—usually including a booking link from the hotel itself as well as SVPs.

Holden (Google) Decl. ¶ 20 (Ex. 6).

       98.    If a Google user searches for a specific hotel name, the SERP may display a hotel

knowledge panel that includes both paid and unpaid booking links, in which SVPs can appear.

Amaldoss (Colo. Pls.’ Expert) Opening Rep. ¶ 138 (Ex. 9).




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        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 26 of 80




See also Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BA.2.a (Ex. 9).

        B.     Flights

        99.    When a Google user enters a query that Google’s algorithms detect as relating to

air travel, Google may serve a SERP containing a “flights unit,” depicted below, among other

SERP elements (such as text advertisements and web results). Holden (Google) Decl. ¶ 21 (Ex.

6).




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        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 27 of 80




        100.   The design of the SERP may vary depending on the query, but the flights unit

depicted below is typical for queries like “flights to” a location, from a desktop computer.10

Holden (Google) Decl. ¶ 22 (Ex. 6).




See Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BB.1.a (Ex. 9).

        101.   The web results that are served, as well as the text advertisements (if any) that

appear, for this type of query along with the flights unit on the SERP may include SVPs. Holden

(Google) Decl. ¶ 23 (Ex. 6).

        102.   Google’s design of the flights unit provides its users with near-instantaneous

structured information about flights, including:

           a. a graph of flight prices for a specific destination-origin pair on a range of dates;

           b. a list of flights, organized by carrier, associated with a specific destination-origin

               pair and date, with information including flight duration and starting price;


10
  See Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BB.1.d (Ex. 9) for image of flights unit
on a mobile device.

                                                   27
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 28 of 80




           c. the ability for the user to filter by certain criteria (including flight class, nonstop

                flights only, and flights that are low emission) on the SERP;

           d. a link to Google’s flights immersive, where users can find further information and

                further refine their flight search.

Holden (Google) Decl. ¶ 24 (Ex. 6).

                1.      Origin and Evolution

       103.     Prior to the launch of its flights unit, Google would show web results, as well as

text ads (if any), in response to a query associated with air travel. Holden (Google) Tr. 41:11-

42:8 (Ex. 5).

       104.     In 2006, Google launched a flights “onebox” that offered only basic flight

schedule information without any price and availability information, links to book, or other

interactive search features. Holden (Google) Decl. ¶ 27 (Ex. 6).

       105.     Even with this offering, Google determined that it was losing queries because it

did not offer pricing and availability information for flights. Holden (Google) Decl. ¶ 27 (Ex. 6);

see also GOOG-DOJ-04353653 at -655 (Ex. 26) (noting, in 2011, that its results “provided little

useful information for queries like [flights to Minneapolis]”).

       106.     As with hotel search, Google confronted engineering challenges relating to the

magnitude of flight data and the need to return search results nearly instantaneously. Members

of the Google Travel team observed that “a simple BOS/SFO round-trip may have 25M+ valid

solutions out of a search space 10B+. This processing is currently done while the user waits and

very little parallelism is applied to the task.” GOOG-DOJ-04353653 at -654 (Ex. 26).

       107.     Google also recognized that speed was an engineering challenge in delivering

flights results, so, like for hotel stays, Google precomputed itineraries, which, while “technically




                                                      28
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 29 of 80




challenging,” helped “pave the way for real innovation around the user experience.” GOOG-

DOJ-04353653 at -654 (Ex. 26).

       108.    In 2011, after completing its acquisition of travel software company ITA, Google

launched its flights unit, which at that time provided users with the ability to search for flight

schedule information for direct flights between two points. GOOG-DOJ-04353653 at -655-

56, -659 (Ex. 26).

       109.    Prior to launching its flights unit, Google conducted quality testing to evaluate

whether the flights unit would improve user experience. Holden (Google) Decl. ¶¶ 4-5 (Ex. 6).

       110.    Google’s analyses confirmed that its flights unit improved the flight search user

experience on the SERP. Holden (Google) Decl. ¶ 5 (Ex. 6).

       111.    For example, an August 2011 Google experiment, in which Search Quality Raters

compared Google’s new post-ITA acquisition “flights mode” results to web results concluded

that the flight results were “more useful for the query” 53.4% of the time, compared to 17.3% for

the web results. GOOG-DOJ-01239619 at -620 (Ex. 43). And prior to launching the “Flights

Universal in US” unit, Google conducted an experiment in which 62.9% of the Search Quality

Raters found the unit “very useful,” and an additional 24.8% found it “somewhat

useful.” GOOG-DOJ-23875896 at -898 (Ex. 44).

       112.    Google’s flights unit and immersive now enables users to search for flights for a

specific date range across hundreds of airlines and thousands of destinations and receive results

nearly instantaneously. Holden (Google) Decl. ¶ 26 (Ex. 6).

       113.    Google has launched many improvements over the years to its flight search results

based on user testing. Holden (Google) Decl. ¶ 30 (Ex. 6).




                                                  29
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 30 of 80




       114.      For example, beginning in 2018, Google experimented with altering the

placement of the flights unit so that it was not statically positioned on the SERP, in order to

improve user experience and after determining that it improved the user experience based on user

research, implemented that improvement. GOOG-DOJ-03098047 at -053-65 (Ex. 45).

       115.      In 2019, Google determined through pre-launch experiments that a “Price Graph”

(i.e., the graphic representation of flight prices over time that helps users identify low-cost dates

to fly) would enhance the user experience. GOOG-DOJ-03667739 at -744-49 (Ex. 46) (“[w]e

think users are getting answers faster on the SRP”); GOOG-DOJ-03667739 at -762-64 (Ex. 46).

Thereafter, Google added the Price Graph to the flights unit. Holden (Google) Decl. ¶ 30 (Ex.

6).

       116.      Google studies whether users are satisfied by its flights results. Holden (Google)

Decl. ¶ 7 (Ex. 6). Through its user testing, Google determined that 84% of users surveyed on

desktop and 82% on mobile were “very/somewhat satisfied” with Google’s flight search.

GOOG-DOJ-04474464 at -496 (Ex. 37).

       117.      Vice President of Product Management for Travel Richard Holden testified that

the value of offering the flights unit was being able to offer relevant results to Google users to

satisfy the user need with a well-designed, differentiated product. Holden (Google) Tr. 151:21-

152:9 (Ex. 5).

                 2.     How Google’s Flights Unit Works

       118.      Google contracts with airline carriers and SVPs to obtain flight price and

availability information. Google’s 3rd Supp. Resp. to Colo. Pls.’ Nov. 1, 2021 30(b)(6) Notice at

11 (Ex. 39).




                                                 30
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 31 of 80




       119.    Much of the information displayed in the flights unit is not available from web

crawling alone, and thus would not appear elsewhere on the SERP. Holden (Google) Decl. ¶ 26

(Ex. 6).

       120.    The flights unit that appears on the SERP does not include any advertisements.

See Para. 100 (image of flights unit); Holden (Google) Decl. ¶ 25 (Ex. 6).

       121.    The flights unit that appears on the SERP does not include any links to airline or

SVP websites. See Para. 100 (image of flights unit); Holden (Google) Decl. ¶ 25 (Ex. 6).

       122.    SVPs do not appear in the flights unit on the SERP because they are not flights

associated with a specific itinerary. Holden (Google) Tr. 156:7-20 (Ex. 5).

       123.    From the flights unit, a Google user may click on a particular flight or “show

flights” to view the Flights immersive, which is depicted below. See Para. 100 (image of flights

unit); Holden (Google) Decl. ¶ 24 (Ex. 6).




                                                31
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 32 of 80




See Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BB.1.b (Ex. 9).11

       124.    Google has designed its flights immersive to identify the “Best departing flights”

for users, which Google’s algorithms rank based on price and convenience. Holden (Google)

Decl. ¶ 28 (Ex. 6).

       125.    The flights immersive provides additional filters through which a Google user can

refine their search, including airline, bags, price, times, emissions, connecting airports, and

duration. See Para. 123 (image of flights immersive); Holden (Google) Decl. ¶ 24 (Ex. 6).

       126.    The flights immersive gives users additional search options beyond what is

available on the flights unit, including a search calendar that helps users find the lowest-cost

dates to fly a particular route. Holden (Google) Decl. ¶ 28 (Ex. 6).

       127.    After the user refines their flight search and selects specific flights, the flights

immersive is designed to display a detail page where the complete flight itinerary is displayed.

Holden (Google) Decl. ¶ 29 (Ex. 6).




11
  See Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BB.2.d (Ex. 9) for image of flights
immersive on a mobile device.

                                                  32
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 33 of 80




See Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BB.2.b (Ex. 9).12

       128.    Google has designed its detail page to display unpaid booking links to airlines, as

well as to SVPs when permitted by the airline. Holden (Google) Decl. ¶ 29 (Ex. 6).

       129.



       C.      Local

       130.    When a Google user enters queries that Google’s algorithms detect as relating to

local entities, Google typically serves a SERP containing a “local unit,” (also referred to as the




12
  See Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BB.2.e (Ex. 9) for image of flights detail
page on a mobile device.

                                                 33
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 34 of 80




“local universal unit”) among other SERP elements (such as text advertisements and web

results). Reid (Google) Decl. ¶ 14 (Ex. 4).

       131.    The exact appearance of the local unit on the SERP may vary depending on the

query, but the local unit depicted below is typical for queries like “delivery tacos near me” that

Google detects as relating to local places, from a desktop computer.13 Reid (Google) Decl. ¶ 15

(Ex. 4).




Amaldoss (Colo. Pls.’ Expert) Opening Rep. ¶ 87 & Fig. BE.1.a (Ex. 9).

       132.    The web results, as well as text advertisements (if any), that Google serves for

these types of queries along with the local unit on the SERP may include SVPs. Reid (Google)

Decl. ¶ 16 (Ex. 4).

       133.    Google’s design of the local unit provides its users with structured information

about local entities, including:

                a.     a map of local entities in the specific location

                b.     a list of up to three local entities as determined by Google’s algorithms;


13
 See Amaldoss (Colo. Pls.’ Expert) Opening Report Fig. BE.1.d for image of local unit on a
mobile device.

                                                 34
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 35 of 80




                 c.     an image, star rating, address, and description about the local entity;

                 d.     a link to Google’s local immersive where users can find further

                        information and further refine their local search.

Reid (Google) Decl. ¶ 17 (Ex. 4); see Para. 131 (image of local unit).

       134.      The unit may also provide advertisements for such entities. Reid (Google) Decl. ¶

18 (Ex. 4).

                 1.     Origin and Evolution

       135.      Google first launched its local unit in 2004. Reid (Google) Decl. ¶ 24 (Ex. 4).

       136.      Prior to the launch of the local unit, Google would generally surface only text ads

and web results in response to a query associated with a local entity; meaning that if a Google

user was interested in looking for a restaurant in New York City, the user would generally only

see ads or links to individual restaurants, restaurant-focused SVPs, or to other websites with

information about restaurants in New York City. To compare restaurants, users would need to

click through some or many of these individual links. Reid (Google) Decl. ¶ 22 (Ex. 4).

       137.      In creating its local unit, Google wanted to offer users a more expansive,

comprehensive, and diverse set of local entities than just providing them with a limited list of

local entities from sources such as yellow pages and local business listings. Reid (Google) Decl.

¶ 23 (Ex. 4).

       138.      One of Google’s goals in creating its local unit “is to have one local business

listing for each and every local business that exists in the world.” Fitzpatrick (Google) Tr. 77:3-

78:1 (Ex. 14).

       139.      The challenge in providing users with a comprehensive and up-to-date set of

results for local places was collecting data on local entities because, if Google lacked




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       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 36 of 80




information that a local place existed, it could not surface it in its search results. Reid (Google)

Decl. ¶ 25 (Ex. 4).

       140.    Google thus began a years’ long, and still ongoing, engineering effort to collect

information from every local place; and not just geographic location and address, but information

on hours, photos, reviews, ratings, and descriptions. Reid (Google) Decl. ¶ 25 (Ex. 4).

       141.    Google designed and engineered the local unit to include functionality allowing

the user to enter only a keyword and a location like “pizza palo alto” to view results including

local pizza restaurants with accompanying information such as a phone number, address, and

related websites. Reid (Google) Decl. ¶ 24 (Ex. 4).

       142.    Google has learned from its user research that Google’s users are interested in

seeing specific local businesses in the local unit. Reid (Google) Tr. 97:2-98:5 (Ex. 13).

       143.    Google has launched many improvements over the years to its local unit. Reid

(Google) Decl. ¶ 26 (Ex. 4).

       144.    As with all changes to Google’s search results, Google tests proposed changes to

the local unit prior to introducing them. Reid (Google) Decl. ¶ 26 (Ex. 4).

       145.    Subsequent to the launch of the local unit, Google offered users access to

additional relevant information such as integrated local search results, detailed driving directions,

and other features. Reid (Google) Decl. ¶ 27 (Ex. 4).

       146.    In 2007, Google introduced the local universal unit (sometimes referred to as the

local “3-pack” or “onebox”). In its current form, it may provide users with results from up to

three local businesses, along with ratings, access to reviews, and a map. Reid (Google) Decl. ¶

28 (Ex. 4).




                                                 36
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 37 of 80




       147.    Prior to launching its local unit, Google conducted quality testing to evaluate

whether the local unit would improve user experience. Reid (Google) Decl. ¶¶ 11-12 (Ex. 4).

       148.    Google determined based on feedback from trained Search Quality Raters that

users found the local unit beneficial and that it improved overall user experience. Reid (Google)

Decl. ¶ 12 (Ex. 4).

       149.    Google’s 2007 launch report evaluating the introduction of the new user interface

summarizes an experiment showing that nearly 80% of users ranked the local unit “quite useful”

or “totally awesome.” GOOG-DOJ-00515037 at -038 (Ex. 23).

       150.    Google recognized that it faced challenges in the accuracy and coverage of its

local search results. Fitzpatrick (Google) Tr. 153:20-155:8 (Ex. 14). In 2009, Google launched a

multi-year effort to acquire data directly from users and merchants in order to provide higher

quality data, fresher updates, and better coverage of local businesses. Id. (“And so the primary

motivation was to get Google to a point where the quality coverage, freshness, et cetera, of our

local business listing data was better than what we were able to attain with the third-party feed

approach.”); Reid (Google) Decl. ¶ 25 (Ex. 4).

       151.    As an example of Google initiating changes in response to user research, in 2017,

Google’s user feedback and query analyses demonstrated that users had different information

needs for different types of local places; for example, rather than the same basic information

(e.g., phone number, hours) from each local business, users would prefer to see menu options

from a restaurant or manicure options from a nail salon. Fitzpatrick (Google) Tr. 164:19-167:10

(Ex. 14).

       152.    Thereafter, Google broadened its efforts to incorporate more bespoke information

into its local unit depending on the type of local entity. Fitzpatrick (Google) Tr. 164:19-166:4




                                                 37
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 38 of 80




Ex. 14) (Google collected and surfaced “more relevant and pertinent information that would

apply to more specific types of local businesses.”).

       153.    Google’s local unit now enables users to search for millions of local entities and

services, even if these entities do not have a website, across thousands of locations, and receive

results nearly instantaneously in the local unit. Reid (Google) Decl. ¶ 29 (Ex. 4).

       154.    Google continuously studies whether users are satisfied by its local unit, meaning

(among other things) that their information needs are met. Reid (Google) Decl. ¶ 13 (Ex. 4).

       155.    Google has conducted ablation studies to determine the impact of ablating the

local unit. See GOOG-DOJ-29263566 at -566, -570 (Ex. 47) (2017 Google ablation study

finding that ablating the local unit on “where-to-buy” queries was “bad for users” in live in-

product experimentation); Reid (Google) Decl. ¶ 13 (Ex. 4).

       156.    The metrics that Google uses in the ordinary course of business confirm that users

generally find satisfaction with the local unit. Reid (Google) Decl. ¶ 13 (Ex. 4).

               2.      How Google’s Local Unit Works

       157.    The photos, address, user reviews, website, and other information about the place

or business in Google’s local unit comes from licensed data feeds, crawling, user generated

content, and information based on Google’s interactions with a local place or business. Google’s

3rd Supp. Resp. to Colo. Pls.’ Nov. 1, 2021 30(b)(6) Notice at 5-6 (Ex. 39).

       158.    Much of the information displayed in the local unit is not available from web

crawling alone, and thus would not appear elsewhere on Google’s SERP. Reid (Google) Decl. ¶

21 (Ex. 4).

       159.    SVPs do not appear in the local unit on the SERP because they are not local

places associated with “a local area of relevance.” Reid (Google) Tr. 90:16-91:2; 92:3-5; 93:9-




                                                38
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 39 of 80




94:8 (Ex. 13) (explaining that to appear in the local unit any entity would need “a local area of

relevance” such as a “physical address” or “area it serves”).

       160.    For a query relating to food delivery, for example, Google shows specific

restaurants offering delivery in its local unit. Reid (Google) Tr. 144:18-146:8 (Ex. 13); Reid

(Google) Decl. ¶ 20 (Ex. 4).

       161.    As reflected in the images below, for a query relating to food delivery, the user

may navigate within the local immersive to view additional information, such as restaurant

details, busyness, and weblinks to order delivery online through various food-delivery providers,

including SVPs. Reid (Google) Decl. ¶ 20 (Ex. 4).14




Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BE.2.b (Ex. 9).


14
  See Amaldoss (Colo. Pls.’ Expert) Opening Report Figs. BD.1.e & BD.1.f for images of the
local immersive and a detail page on a mobile device.

                                                39
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 40 of 80




Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BE.2.e (Ex. 9).

       162.   If a user searches directly for a specific local entity (e.g., “Rasika West End”), the

SERP may display a knowledge panel with local information for that place instead of the unit.




Screenshot of a SERP for the query “Rasika West End” (accessed on November 30, 2022).

       D.     Local Services Ads

       163.   When a Google user enters certain queries relating to local services, such as

“electricians near me,” Google may surface a Local Services Ads carousel, as depicted below for




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          Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 41 of 80




desktop queries, at the top of the SERP among other SERP elements (such as text advertisements

and web results). Amaldoss (Colo. Pls.’ Expert) Opening Rep. ¶ 118 & Fig. BD.1.a. (Ex. 9).15




          164.   The categories of local services providers who can advertise in the Local Services

Ads carousel include electricians, plumbers, locksmiths, and HVAC service providers, among

others. Spalding (Google) Tr. 105:19-106:24 (Ex. 18).

          165.   The web results, as well as text advertisements (if any), that Google serves for

these types of queries along with Local Services Ads on the SERP may include SVPs. Amaldoss

(Colo. Pls.’ Expert) Tr. 157:13-157:17 (Ex. 40); Amaldoss (Colo. Pls.’ Expert) Dep. Ex. 3 (Ex.

48).

          166.   Google’s design of the Local Services Ads unit may provide users, among other

things:

          a.     Ads for up to three local services providers;

          b.     name of provider, hours of operation, service location, and a star rating from user

                 reviews;




15
  See Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BD.1.d. (Ex. 9) for image of Local
Services Ads unit on a mobile device.

                                                  41
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 42 of 80




       c.      for those providers appearing in the Local Services Ads unit as a result of an

               SVP’s participation in Google’s Local Services Ads Partner Program, the name of

               the SVP;

       d.      an indication whether the provider is “Google guaranteed”, meaning the provider

               has passed Google’s verification process (including, for example, verification that

               the provider maintains proper licenses) and that Google may reimburse customers

               who are dissatisfied with the quality of the work from that provider; and

       e.      a link to Google’s local services immersive where users can find further

               information and further refine their search for local service providers in the user’s

               geographic area.

See Para. 163 (image of Local Services Ads unit); Para. 183 (image of Local Services Ad);

Amaldoss (Colo. Pls.’ Expert) Opening Rep. ¶¶ 118-21 & Fig. 13 (Ex. 9); Understand the

Google Guarantee,

https://support.google.com/localservices/answer/7125526?hl=en&ref_topic=6250184 (last

accessed Nov. 27, 2022) (Ex. 49).

               1.      Origin and Evolution

       167.    In 2014, Google sought to improve its offerings for both users and for local

service providers by exploring the development of an offering called Services Express, which

was originally conceived of as a “one-stop solution” for searching and booking local services.

GOOG-DOJ-06095362 at -365 (Ex. 50); Spalding (Google) Tr. 99:6-104:16 (Ex. 18). Google

sought to develop an offering in the local services space to help users find quality, trusted service

providers and because the industry presented a large financial opportunity. GOOG-DOJ-

06095362 at -366 (Ex. 50); Spalding (Google) Tr. 99:6-104:16 (Ex. 18).




                                                 42
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 43 of 80




       168.    At that time, Google observed that “[t]here’s a real pain point - finding a

trustworthy service provider is an arduous process. A disproportionate amount of work that each

user has to repeat each time. . . Looking for a plumber is a 9-step process.” GOOG-DOJ-

06095362 at -366 (Ex. 50). Google conducted a user survey, which found that users were

seeking an “easy/fast [way] to find trusted provider who’s not overly expensive.” GOOG-DOJ-

06095362 at -378 (Ex. 50).

       169.    One challenge with local services is that many service professionals are small

local businesses without a quality online presence and without the know-how to effectively

market their services online, making it difficult for users to locate and assess local service

providers via weblinks or text ads. Spalding (Google) Tr. 99:23-101:14 (Ex. 18).

       170.    Another challenge in the local services industry is fraud in advertising for local

services. GOOG-DOJ-04166187 at -187 (Ex. 51) (“Bad actors are motivated, savvy and know

how to make their operation appear legitimate. Without a more involved business verification

process and trust signals like reviews, consumers remain vulnerable.”).

       171.    In the summer of 2015, Google launched a local services pilot experiment in the

Bay Area. GOOG-DOJ-23326660 at -661 (Ex. 52).

       172.    The goal of the pilot experiment was to “(a) improve user experience on

Google.com for home service queries and (b) generate value for home service providers by

sending them customer leads.” GOOG-DOJ-23326660 at -661 (Ex. 52).

       173.    Prior to launching the Local Services Ads product, Google conducted quality

testing to evaluate whether the unit would improve user experience. GOOG-DOJ-23326660

at -662 (Ex. 52) (explaining pilot experiment analysis and noting “we received positive

qualitative feedback about the product features”).




                                                 43
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 44 of 80




       174.



                                                         GOOG-DOJ-04166187 at -187 (Ex.

51); GOOG-DOJ-26930689 at -692-693 (Ex. 53). Google also introduced, in 2016, its “Google

Guarantee” for consumers, described at the time as a “money-back guarantee, represented by the

Google-guarantee badge.” GOOG-DOJ-26930689 at -690 (Ex. 53).

       175.    As of August 2016, Google deemed the launch of its Local Services Ads product

“sufficiently successful” that it planned to expand the product to other regions. GOOG-DOJ-

26930689 at -690 (Ex. 53).

       176.    In October 2017, Google announced the national launch of its Local Services Ads

product, having seen “successful user engagement,” “[g]reat user experiences,” and “[e]ngaging

SERP units” during the product rollout. GOOG-DOJ-14418354 at -355-57 (Ex. 54) (reflecting

that “key metrics” included “[d]elight our users with a useful experience when they search for

home services”). Over time, Google has also added new service categories to its Local Services

Ads offerings. GOOG-DOJ-06902634 at -637 (Ex. 116).

       177.    Google continues to evaluate whether users are satisfied with Local Services Ads,

and its analyses show that users are generally satisfied with Local Services Ads. For example, in

2017 Google conducted a user survey that showed that user satisfaction for different aspects of

Local Service Ads ranged from                   GOOG-DOJ-14418354 at -359 (Ex. 54). In

2019, Local Services Ads had a       customer satisfaction rate. GOOG-DOJ-06902634 at -666

(Ex. 116).




                                               44
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 45 of 80




                 2.     How Local Services Ads Work

        178.     The providers who appear in the Local Services Ads on the SERP are currently

chosen based on an auction that accounts for the advertiser bid and quality. Spalding (Google)

Tr. 129:24-130:9 (Ex. 18).

        179.     Google conducts quality verification checks by, for example, ensuring a business

possesses the proper licenses before marking a provider as “Google Guaranteed,” which provides

a money-back guarantee and a “[s]trong signal of trust for both consumers and providers.”

Spalding (Google) Tr. 105:6-18, 108:14-109:12 (Ex. 18); GOOG-DOJ-06902634 at -664-65 (Ex.

116).

        180.     Only service providers may be featured in Local Services Ads on the SERP, as

well as in Google’s local services immersive and provider detail pages, because the unit is

intended to connect consumers and providers of the particular service. Spalding (Google) Tr.

122:3-21 (Ex. 18); Google’s 2nd Supp. Resp. to Colo. Pls. 3rd Interrogs. at 6-7 (Ex. 8).

        181.     Through Google’s Local Services Ad Partnership Program, SVPs may purchase

Local Services Ads to advertise the services of particular service providers that are customers of

the SVP. Spalding (Google) Tr. 110:10-112:25 (Ex. 18); Grow your business with the Local

Services Ads partner program, https://ads.google.com/local-services-ads/partners/ (last accessed

Dec. 9, 2022).

        182.     Google obtains data regarding a local service provider’s services, location, phone

number and other information from the local service provider via the provider’s ad campaign or

an SVP’s API. Google’s 3rd Supp. Resp. to Colo. Pls.’ Nov. 1, 2021 30(b)(6) Notice at 7

(Ex.39).

        183.     SVPs who purchase Local Services Ads for their providers may appear by name

in the ad on the SERP as reflected below (where “Your business name” appears), in the


                                                 45
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 46 of 80




immersive, and on the provider detail page. Amaldoss (Colo. Pls.’ Expert) Opening Rep. ¶ 121

(Ex. 9).




See Grow your business with the Local Services Ads partner program,

https://ads.google.com/local-services-ads/partners/ (last accessed Dec. 9, 2022).

       184.    From both the Local Services Ads immersive and the provider’s detail page,

Google provides users with information enabling them to contact the provider directly or book a

service with the provider. Spalding (Google) Tr. 118:16-119:12 (Ex. 18).

       185.    Google receives a payment from the provider for lead generation—i.e., when the

user, in fact, contacts or books a provider through Google Local Services. Spalding (Google) Tr.

120:16-24 (Ex. 18).

       E.      Movies

       186.    When Google’s algorithms detect, based on the user’s query, that the user is

looking for information about movies, such as “popular movies,” or “movie showtimes,” Google

may surface a movies unit among other SERP elements (such as text advertisements and web

results). Moxley (Google) Decl. ¶¶ 11-13 (Ex. 16).




                                               46
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 47 of 80




Screenshot of a Google SERP for the query “movies” (accessed Nov. 11, 2022).

       187.    Google’s design of the movies unit and immersive provides users with structured

information, if applicable, including:

           a. a carousel of movies currently in theaters,

           b. reviews and ratings,

           c. theaters at which movies may be screened,

           d. third-party links from which the user can book a ticket for a particular showtime

               at a particular theater, and

           e. streaming services on which the user can view the movie.

Moxley (Google) Decl. ¶ 12 (Ex. 16).

               1.      Origin and Evolution

       188.    Prior to the launch of Google’s movies unit, Google would surface web results

and text ads (if any) in response to a movie-related query, and users would need to click through




                                               47
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 48 of 80




to various individual theaters or other websites or service providers to get information about

movies and showtimes. Moxley (Google) Decl. ¶ 14 (Ex. 16).

       189.    Prior to launching its movies unit, Google conducted testing to evaluate whether

its movies unit would improve user experience. Moxley (Google) Decl. ¶ 9 (Ex. 16).

       190.    Google’s analyses confirmed that the addition of its movies unit to the SERP

improved the overall user experience for users with certain movie-related queries. Moxley

(Google) Decl. ¶ 9 (Ex. 16).

       191.    Google has launched many improvements to its movies search results over the

years, including adding streaming options when available. Moxley (Google) Decl. ¶ 19 (Ex. 16).

       192.    Google continues to evaluate whether users are satisfied by its movies unit.

Moxley (Google) Decl. ¶ 10 (Ex. 16).

               2.     How Google’s Movies Unit Works

       193.    The movies unit that Google surfaces on a SERP depends on the user’s query.

Moxley (Google) Decl. ¶ 16 (Ex. 16).

       194.    If Google’s algorithm perceives the user’s intent is to find movies currently in

theaters, Google’s SERP may display a carousel of those movies. SVPs do not appear in this

movies unit on the SERP because they are not movies. Moxley (Google) Decl. ¶ 16 (Ex. 16).

       195.    If a user clicks on a movie currently in theaters, Google shows the user additional

information about the film, including reviews, showtimes at theaters, and links to purchase

tickets (including on SVPs such as Fandango). Moxley (Google) Decl. ¶ 16 (Ex. 16).




                                                48
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 49 of 80




Screenshot of Google movie detail page for movie “Smile” after clicking on showtime (accessed

November 11, 2022).

       196.    If Google’s algorithm perceives the user’s intent is to find a movie not currently

in theaters, Google’s SERP may display information about the film, weblinks to websites where

the user can learn more about the film, and options for streaming the film. Moxley (Google)

Decl. ¶ 17 (Ex. 16).




                                                49
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 50 of 80




Screenshot of a Google SERP page for a query of “Shawshank Redemption” (accessed

November 11, 2022).

       197.    For queries with movie-related intent, SVPs may appear in text ads, web results,

and within the movies immersive and movie detail pages. Moxley (Google) Decl. ¶ 18 (Ex. 16).

       F.      Events

       198.    When Google’s algorithms detect, based on the user’s query, that the user is

looking for information about events, such as “events in seattle” Google typically displays a

SERP containing an “events unit” among other SERP elements (such as text advertisements and

web results), as depicted below from a desktop computer.16 Moxley (Google) Tr. 75:3-8 (Ex.

15); Moxley (Google) Decl. ¶¶ 20-22 (Ex. 16).




16
  See Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BF.1.d (Ex. 9) for image of events unit
on a mobile device.

                                                50
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 51 of 80




See Amaldoss (Colo. Pls.’ Expert) Opening Rep. ¶ 150 & Appx. B Fig. BF.1.a (Ex. 9).

        199.   Google’s design of the events unit provides users with structured information

including:

               a. a list of relevant upcoming events activities from sites across the web;

               b. images, dates, times, and locations for the events; and

               c. a link to an events immersive where users can find further information and

                  further refine their events search.

Moxley (Google) Decl. ¶ 21 (Ex. 16).

        200.   For such queries with events-related intent, SVPs may appear in text ads, web

results, and within the events immersive and events detail pages. Moxley (Google) Decl. ¶ 26

(Ex. 16).




                                                51
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 52 of 80




               1.     Origin and Evolution

       201.    Prior to the launch of Google’s events unit, Google would generally surface only

text ads and web results in response to an events-related query, and users would need to click

through to other sites, including various SVPs, to find an event and ticket purchasing options.

Moxley (Google) Decl. ¶ 23 (Ex. 16).

       202.    In 2017, Google launched its events unit to provide users with a clear summary of

upcoming events to make it easier for users to find events. Moxley (Google) Decl. ¶ 24 (Ex. 16).

       203.    Prior to launching its events unit, Google conducted testing to evaluate whether

the unit would improve user experience. Moxley (Google) Decl. ¶ 9 (Ex. 16).

       204.    Google’s analyses confirmed that its events unit improved the overall user

experience on the SERP. Moxley (Google) Decl. ¶ 9 (Ex. 16).

       205.    For example, feedback from human evaluation raters and users indicated the

usefulness of the events unit. Moxley (Google) Tr. 75:13-19 (Ex. 15).

       206.    Google continues to evaluate whether users are satisfied with its events unit.

Moxley (Google) Decl. ¶ 10 (Ex. 16).

               2.     How Google’s Events Unit Works

       207.    For queries with events-related intent, along with the events unit, search text ads,

web results, Google’s local unit, and other elements may also appear on an events-related SERP.

Moxley (Google) Decl. ¶ 25 (Ex. 16).

       208.    SVPs do not appear in the events unit on the SERP because they are not events.

Moxley (Google) Decl. ¶ 26 (Ex. 16).

       209.    For such queries with events-related intent, SVPs may appear in text ads, web

results, and within the events immersive and events detail pages. Moxley (Google) Decl. ¶ 26

(Ex. 16).


                                                52
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 53 of 80




       210.    If the user clicks on a particular event or on the “Search more events” link, Para.

198 (image of events unit), the user is taken to the events immersive page, which allows users to

further search and filter for events, and see additional information about events such as the date

and time of the event, the location of the event, a brief description of the event. Moxley

(Google) Decl. ¶ 27 (Ex. 16).

       211.    In the events immersive page, the user is also presented with a detail page for

each event that includes unpaid weblinks to third-party websites, which often include SVPs such

as Ticketmaster or Live Nation, where the user could further explore the event and/or purchase

tickets. Moxley (Google) Decl. ¶ 28 (Ex. 16).17




17
  See Amaldoss (Colo. Pls.’ Expert) Opening Rep. Fig. BF.1.e (Ex. 9) for image of events
immersive on a mobile device.

                                                53
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 54 of 80




III.   Challenged Data Agreements

       212.    For certain information categories, Google receives data from third parties for use

in these results and related advertising offerings. Holden (Google) Decl. ¶ 32 (Ex. 6).

       213.    Google enters into agreements with third parties to receive data in order to create

relevant, useful results that respond to user queries quickly and comprehensively. Holden

(Google) Decl. ¶ 33 (Ex. 6).

       214.    Structured data, as opposed to data obtained from crawling the open web, enables

Google to, for example, provide users with accurate hotel room pricing, availability, and booking

information nearly instantaneously from a variety of sources. Holden (Google) Decl. ¶ 33 (Ex. 6).

       215.    The type of data Google contracts for differs depending on the information

category. Holden (Google) Decl. ¶ 35 (Ex. 6).

       216.    For example, in Google’s specialized hotel results, Google contracts for

information including price information, availability, and lodging features. Google also uses

hotels-related data to display unpaid and paid links to book hotels on hotel suppliers and SVPs’

websites. Holden (Google) Decl. ¶¶ 32-33 (Ex. 6); Google’s 3rd Supp. Resp. to Colo. Pls.’ Nov.

1, 2021 30(b)(6) Notice at 10-11 (Ex. 39).

       217.    Google also uses data from food-delivery SVPs to display links so that consumers

can order food delivery using the SVP’s service. Google’s 3rd Supp. Resp. to Colo. Pls’ Nov. 1,

2021 30(b)(6) Notice at 7 (Ex. 39).

       218.    Google also uses flights-related data to display unpaid links to book flights on

airline websites and on SVPs’ websites, to the extent permitted by airlines. Google’s 3rd Supp.

Resp. to Colo. Pls’ Nov. 1, 2021 30(b)(6) Notice at 11 (Ex. 39).




                                                54
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 55 of 80




        219.    Google also uses data from SVPs who participate in the Local Services Ads

partnership program to display advertisements for the local service provider being marketed by

the SVP. Google’s 3rd Supp. Resp. to Colo. Pls’ Nov. 1, 2021 30(b)(6) Notice at 7 (Ex. 39).

        220.    Content license agreements do not pertain to a third party’s ability to appear in

Google’s web results or text ads. A third party such as a travel SVP, airline, or hotel can appear

in Google’s web results or text ads without providing any structured data to Google (such as

pricing or availability). Holden (Google) Decl. ¶ 36 (Ex. 6).

        221.    For certain specialized ad formats, for example Hotel Ads, if third parties

(including both SVPs and hotels) wish to appear in an ad, they must provide data necessary to

surface the ad. Holden (Google) Decl. ¶ 34 (Ex. 6).

        222.    Google has entered into content license agreements with a number of SVPs.

Google’s Resp. to Colo. Pls. 3rd Interrogs. at 13-14, 24-36 (Ex. 7).

        223.    Some SVPs have chosen not to license or provide certain data to Google.




        224.    Google abides by any provision in its content license agreements governing the

usage or retention of data provided pursuant to the license. Google’s 1st Supp. Resp. to Colo.

Pls. 3rd Interrogs. at 5 (Ex. 57).




                                                 55
      Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 56 of 80




IV.   General Search Engine Specialized Search Results and Partnerships

      A.     Other General Search Engines Offer Specialized Search Results

      225.




      226.




      227.




      228.



      229.




      230.




                                          56
Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 57 of 80




231.




232.




B.     GSE-SVP Partnerships

233.



234.




235.




236.




237.




                               57
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 58 of 80




        238.




        239.    For certain information categories, like hotels, Bing does not link to any hotel or

SVP website from the specialized unit on its initial search results page.




Screenshot of the Bing hotels unit on a Bing SERP for the query “hotels in NYC” (accessed

November 14, 2022).

        240.




                                                 58
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 59 of 80




        241.




        242.




V.      Advertisers’ Options for Buying Online Advertising

        243.    Advertisers have choices when it comes to buying online ads. For example,

advertisers can buy online advertising:

            a. Directly from online content publishers, for example, The New York Times.

                New York Times Advertising, Display Units, available at

                https://advertising.nytimes.com/products/display-units/ (last accessed Dec. 9,

                2022).

            b. Directly from online platforms like Google, Amazon, Facebook, and Microsoft.

                Dischler (Google) Tr. 419:8-421:24 (Ex. 63); see also Amazon, Amazon Ads,

                available at https://advertising.amazon.com/explore-

                products?ref_=a20m_us_gw_exp_ap_c (last accessed Dec. 9, 2022); Meta,

                Facebook Ads, available at https://www.facebook.com/business/ads (last

                accessed Dec. 5, 2022) (Ex. 64); Heath (Microsoft) Tr. 17:8-21 (Ex. 65); Utter

                (Microsoft) Tr. 74:9-76:7 (Ex. 66). Advertisers may purchase advertisements

                from these “native tools” or “user interface” (“UI”) tools without using a search

                engine management tool (“SEM tool”). Dischler (Google) Tr. 419:8-421:24

                (Ex. 63); Heath (Microsoft) Tr. 17:8-21 (Ex. 65).


                                                59
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 60 of 80




            c. Using SEM tools. SEM tools allow advertisers to manage ad campaigns across

                multiple channels (e.g., more than one search engine or social media platform).

                Lowcock (Interpublic) Tr. 168:10-169:10 (Ex. 67); Booth (Home Depot) Tr.

                107:11-108:9 (Ex. 68); Utter (Microsoft) Tr. 21:4-17 (Ex. 66). Search Ads 360

                (“SA360”), Marin, Skai (formerly known as “Kenshoo”), and Adobe are

                examples of SEM tools. Heath (Microsoft) Tr. 29:3-10 (Ex. 65); see also Lien

                (Marin) Tr. 33:6-34:2 (Ex. 69).

        244.    Advertisers may buy advertising through a mix of these options. Lowcock

(Interpublic) Tr. 170:19-171:5 (Ex. 67); Booth (Home Depot) Tr. 110:8-111:16 (Ex. 68). This

practice is known in the industry as “multi-homing.”

        245.    Microsoft Advertising (or “Microsoft Ads” or “Bing Ads”) is “a pay-per-click

advertising platform used to display ads based on the keywords used in a user’s search query.”

MSFT-LIT-0000000320 at -020 (Ex. 70). Advertisers can use Microsoft Ads to place ads on the

search results page of Bing, AOL and Yahoo owned and operated sites, as well as Bing, AOL and

Yahoo syndicated search partner sites. Id. at -021.

        246.    Microsoft Ads allows advertisers to buy and manage online search ads on the

Bing search engine. Utter (Microsoft) Tr. 74:9-76:7 (Ex. 66); see also Microsoft, About

Microsoft Advertising, available at https://ads.microsoft.com/?fdmkt=en-us&fdiso=us&fdtz=-5

(last accessed Dec. 9, 2022).

        247.    Advertisers can access Microsoft Ads features directly through the Microsoft Ads

user interface (a “native tool”). Heath (Microsoft) Tr. 15:5-13 (Ex. 65)

                                                                           Alberts (Dentsu) Tr.

322:13-21 (Ex. 71); Amaldoss (Colo. Pls. Expert) Tr. 245:20-21, 302:9-13 (Ex. 40);




                                                  60
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 61 of 80




                                    Utter (Microsoft) Tr. 75:6-76:7 (Ex. 66)

                                               100:2-24                          262:19-265:4

                       266:3-7                          ;



        248.    In addition to Microsoft Ads’ native tool, advertisers can also buy search ads on

Microsoft online properties using a SEM tool or from other “channel partners” of Bing that

“facilitate[] advertising.” Heath (Microsoft) Tr. 17:22-19:6 (Ex. 65).

        249.    Advertisers can use multiple SEM tools via ad agencies. For example, IPG has

historically used Skai or Marin, and has also purchased ads using SA360. Lowcock (Interpublic)

Tr. 170:19-171:5 (Ex. 67). Home Depot used “multiple” SEM tools—both Marin and Adobe—

before switching to SA360. Booth (Home Depot) Tr. 110:8-111:16 (Ex. 68).

        250.    SA360, Marin, Skai, and Adobe offer differing levels of support for Microsoft

Ads and other ad platforms. Vallez (Skai) Tr. 54:6-56:22 (Ex. 73); Vallez (Skai) Dep. Ex. 5 (Ex.

74); Skai, Paid Search, available at https://skai.io/search/ (last accessed Dec. 5, 2022) (Ex. 75);

Lien (Marin) Tr. 35:13-36:7, 39:18-41:22, 49:24-52:6, 112:5-113:12 (Ex. 69); Marin, MarinOne

Paid Search, available at https://www.marinsoftware.com/solutions/paid-search (last accessed

Dec. 8, 2022) (Ex. 76); Collison (Adobe) Decl. ¶¶ 1-4 (Ex. 77); Adobe, Adobe Advertising Cloud

Features, available at https://business.adobe.com/products/advertising/adobe-advertising-cloud-

features.html (last accessed Dec. 8, 2022) (Ex. 78); Google, Search Ads 360 Help, Supported




                                                  61
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 62 of 80




Engines, available at https://support.google.com/searchads/answer/6073010?hl=en (last accessed

Dec. 7, 2022) (Ex. 79).

        251.    Advertisers that use a SEM tool can (1) evaluate other alternative options for

buying and managing online ads, and (2) switch to a native tool (e.g., Microsoft’s native tool) or

another SEM tool. Booth (Home Depot) Tr. 110:8-113:7 (Ex. 68); Alberts (Dentsu) Tr. 95:25-

96:8 (Ex. 71); Indacochea (Google) Tr. 126:9-20 (Ex. 72)



VI.     Google’s SA360 and Other SEM Tools

        252.    Google provides a SEM tool called Search Ads 360 or “SA360,” which allows

agencies and marketers to manage search marketing campaigns across multiple search engines,

including Google Ads, Microsoft Ads, Yahoo! Japan, and Baidu. See Indacochea (Google) Decl.

¶ 4 (Ex. 80); Google, Search Ads 360 Help, What’s Search Ads 360?, available at

https://support.google.com/searchads/answer/1187512?hl=en#:~:text=Search%20Ads%20360%2

0is%20a,multiple%20engines%20and%20media%20channels (last accessed Dec. 9, 2022);

Google, Search Ads 360 Help, Supported engines, available at

https://support.google.com/searchads/answer/6073010?hl=en (last accessed Dec. 7, 2022) (Ex.

79). SA360 does not currently integrate with Pinterest or Amazon, and can only report metrics

and conversions for Facebook, Instagram, and Twitter. Id.; see also Google, Search Ads 360

Help, Facebook and Instagram features in Search Ads 360, available at

https://support.google.com/searchads/answer/9000911?hl=en&ref_topic=9000809 (last accessed

Dec. 7, 2022) (Ex. 81); Google, Search Ads 360 Help, Twitter features in Search Ads 360,

available at https://support.google.com/searchads/answer/9000912?hl=en&ref_topic=9000809

(last accessed Dec. 7, 2022) (Ex. 82). SA360 was formerly called “Doubleclick Search” or “DS,”

and was rebranded as “Search Ads 360” in 2018. See GOOG-DOJ-11662108, at -114 (Ex. 83).


                                                 62
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 63 of 80




        253.    Other SEM tools, such as Skai, Marin, and Adobe, allow advertisers to buy search

ads across “general” search engines like Google and Bing. Vallez (Skai) Tr. 50:12-52:10 (Ex.

73), Vallez (Skai) Dep. Ex. 5 (Ex. 74); Lien (Marin) Tr. 39:12-41:11 (Ex. 69); Collison (Adobe)

Decl. ¶ 3 (Ex. 77).

        254.    Skai, Marin, and Adobe also allow advertisers to buy online advertising across

sites such as Apple Search Ads, Twitter, TikTok, Amazon, Facebook, Instacart, Snapchat,

LinkedIn, and Pinterest. Vallez (Skai) Tr. 50:12-52:10 (Ex. 73), Vallez (Skai) Dep. Ex. 5 (Ex.

74); Lien (Marin) Tr. 39:12-41:22 (Ex. 69); Collison Decl. (Adobe) ¶ 2 (Ex. 77).

        255.




        256.




        257.



        258.    The Home Depot switched from Marin and Adobe to SA360 based on usability,

feature preferences, and price. Booth (Home Depot) Tr. 110:8-111:16 (Ex. 68).




                                                63
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 64 of 80




        A.     Advertisers’ Search Advertising Spend on SA360

        259.




        260.   Rukmini Iyer, Corporate Vice President of Microsoft Advertising, testified that



                                                                Iyer (Microsoft) Tr. 172:16-

173:5, 183:14-25, 185:7-10 (Ex. 89).

        261.




                                               64
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 65 of 80




        262.




        B.     Requirements for SEM Tool Providers and Other Parties to Access Search
               Engine APIs

        263.   Google Ads publishes certain “Required Minimum Functionality” (also known as

“RMF”) standards for SEM tools and other platforms connecting to the Google Ads API. See

Google Advertising Policies Help, Google Ads API (AdWords API) Policies, available at

https://support.google.com/adspolicy/answer/6169371?hl=en#:~:text=Required%20Minimum%2

0Functionality%20(RMF)%20refers,See%20the%20RMF%20rules (last accessed Dec. 9, 2022).

RMF “refers to the features and other functionality that certain tool developers must offer when

using the Google Ads API (AdWords API).” Id.




                                                65
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 66 of 80




        264.    Other advertising platforms, like Microsoft Ads, also have requirements for

accessing their API. Vallez (Skai) Tr. 164:9-166:9 (Ex. 73); Heath (Microsoft) Tr. 100:4-101:5

(Ex. 65).

        265.




        266.



VII.    Google’s Development of Microsoft Advertising Features for SA360

        267.    SA360 offers advertisers a range of engine-specific features for Microsoft Ads.

The available features for Microsoft Ads can be viewed (a) on the advertiser’s user interface

(“UI”) in SA360, and (b) help pages available online that list the available feature. Indacochea

(Google) Decl. ¶ 6 (Ex. 80); see also Search Ads 360 Help, Microsoft Advertising features in

Search Ads 360, available at https://support.google.com/searchads/answer/2592341?hl=en (last

updated May 17, 2022) (listing features for legacy SA360 platform) (last accessed Dec. 7, 2022)

(Ex. 93); compare with Search Ads 360 Help, Microsoft Advertising features in Search Ads 360,

available at

https://web.archive.org/web/20201204032028/https://support.google.com/searchads/answer/2592

341?hl=en&ref topic=2592040 (last updated November 17, 2020) (listing features for legacy

SA360 platform) (last accessed Dec. 7, 2022) (Ex. 94).

        A.      Timeline of Microsoft’s Feature Requests to SA360

        268.    “Feature parity” is a term that was used in Microsoft’s requests to SA360 in 2019

and 2020, and in that context, refers to parity between Google Ads features and Microsoft Ads




                                                66
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 67 of 80




features offered by SA360.18 GOOG-DOJ-12678310 at -311 (Ex. 87). Microsoft’s Shirley Heath

testified that “[i]f Google Ads and Microsoft Ads have both launched a feature, our ask and

expectation is that equal access would be provided in the platform.” Heath (Microsoft) Tr. 51:15-

52:2 (Ex. 65).

        269.     In November 2019, Microsoft asked Google to develop 27 Microsoft Ads features

on SA360. See GOOG-DOJ-12678310 at -310-13 (Ex. 87). Specifically, Shirley Heath and Jim

LaForce of Microsoft emailed employees of Google’s SA360 product team a list of 27 (of 54)

features that Microsoft believed were not supported by SA360 based on their review of public

documentation, and seeking “the same level of access to Microsoft Advertising features that

[customers] have to Google Ads features.” Id. at -310-11.

        270.




        271.




18
   Google’s internal documents refer to “feature parity” in other contexts to mean parity between
its legacy SA360 product and the new SA360 platform it launched in February 2022.


                                                67
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 68 of 80




        272.      Of the 27 Microsoft Ads features requested by Microsoft in November 2019,

Plaintiffs have identified five features that they allege Google either delayed support for, or failed

to support: auction-time bidding, call extensions, dynamic search ads, responsive search ads, and

local inventory ads. Colo. Pls.’ Compl. (ECF No. 1-2) ¶¶ 152, 160; Amaldoss (Colo. Pls.’

Expert) Opening Report at 130 Tbl. 2 (Ex. 9).

            See Indacochea (Google) Decl. ¶¶ 7, 10 (Ex. 80).

        273.      Microsoft’s automated bidding is a



                                                       Iyer (Microsoft) Tr. 157:10-158:1 (Ex. 89);

see also Heath (Microsoft) Tr. at 84:21-85:22 (Ex. 65). In its November 2019 feature

development request, Microsoft included each of these automated bid strategies, plus a separate

“Auction Time Bidding” strategy. GOOG-DOJ-12678310 at -312 (Ex. 87). Microsoft does not

offer a standalone “auction time bidding” strategy; rather, it is integrated into certain bid

strategies. See Microsoft Ads, Automated Bidding, available at

https://about.ads.microsoft.com/en-us/solutions/tools/automated-bidding (last accessed Dec. 5,

2022) (Ex. 95).

        274.      Microsoft’s November 2019 feature requests, including the request for Microsoft

Ads’ automated bidding, followed the launch of Google Ads auction-time bidding feature on

SA360 in September 2019. See Google, Google Ads auction-time bidding comes to Search Ads

360, dated September 18, 2019, available at

https://www.blog.google/products/marketingplatform/360/google-ads-auction-time-bidding-

comes-search-ads-360/ (last accessed Dec. 9, 2022).




                                                  68
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 69 of 80




        275.




        276.

           Utter (Microsoft) Tr. 276:2-277:19 (Ex. 66). Microsoft rejected this timeline as too

slow.    at 277:20-278:19




                                                          Google, Google Ads auction-time

bidding comes to Search Ads 360, dated September 18, 2019, available at

https://www.blog.google/products/marketingplatform/360/google-ads-auction-time-bidding-

comes-search-ads-360/ (last accessed Dec. 9, 2022).

        277.   From November 2019 onward and into 2021, Google and Microsoft engaged in a

dialogue about building features on SA360 for Microsoft Ads, during which proposals were

exchanged, but no agreement was reached. During this time, Google did not refuse to develop the

features Microsoft requested. See GOOG-DOJ-29186281 at -282-83 (Ex. 97) (September 17,

2020 email from Joan Braddi of Google to Chris Weinstein of Microsoft noting “commit[ment] to

working with Microsoft in good faith on a potential integration of Microsoft Advertising’s




                                                69
       Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 70 of 80




automated bidder into SA360 bid strategies[]”); MSFT-LIT2_0009965153 at -154 (Ex. 99)




                                                                              Microsoft’s

Shirley Heath

                              Heath (Microsoft) Tr. 196:2-197:11 (Ex. 65).

       278.




       B.       Microsoft’s Feature Requests to Other SEM Tools

       279.




       280.




                                             70
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 71 of 80




        281.   Microsoft employees

                            , telling SA360 employees that they “believe[d] no later than 90 days

following Google Ads [was] reasonable” for building “new [Microsoft Ads] features that are

aligned with Google Ads features.” GOOG-DOJ-12678310 at -310 (Ex. 87).

        282.   Skai launched its integration with Microsoft Ads’ automated bidding feature in

the first quarter of 2020. SKAI-00002350 (Ex. 96),




        283.




        284.




        285.   Marin has not built the full automated bidding feature for Microsoft Ads. Heath

(Microsoft) Tr. 84:5-16 (Ex. 65),




        286.




                                               71
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 72 of 80




        287.




        C.     Google’s Launch of a New Version of SA360

        288.




        289.




        290.



        291.   The culmination of Project Amalgam—the new version of SA360—launched in

February 2022. See Indacochea (Google) Decl. ¶ 5 (Ex. 80); Google, Introducing the new Search

Ads 360, February 8, 2022, available at:

https://blog.google/products/marketingplatform/360/introducing-new-search-ads-360/ (last

accessed Dec. 8, 2022) (Ex. 102). Google’s launch of the new version of SA360 included added

support for over 10 additional Microsoft Ads features, including call extensions, dynamic search

ads, responsive search ads, and local inventory ads. Id.; Indacochea (Google) Decl. ¶ 7 (Ex. 80).


                                                72
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 73 of 80




        292.



        D.     SA360’s Work to Integrate Auction-Time-Bidding

        293.




        294.



        295.   The auction-time bidding integration between SA360 and Google Ads did not

launch until September 2019. See Google, Google Ads auction-time bidding comes to Search Ads

360, dated September 18, 2019, available at

https://blog.google/products/marketingplatform/360/google-ads-auction-time-bidding-comes-

search-ads-360/ (last accessed Dec. 9, 2022).

        296.




        297.   Microsoft compiled its November 2019 list of requested features based on “a side

by side view of the feature support for MSA and Google Ads from SA 360 based on their public

documentation.” Utter (Microsoft) Dep. Ex. 14 (Ex. 103); see also GOOG-DOJ-12678310 at -

311 (Ex. 87) (“This is our best view based on your public documentation”).




                                                73
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 74 of 80




        298.




        E.     Other Reasons for Timing of SA360’s Development of Microsoft Ads
               Features

        299.   Microsoft Ads features are not always available at the time parallel features are

released for Google Ads, which results in support on SA360 for those Microsoft features lagging

behind support on SA360 for the parallel Google features. Vallez (Skai) Tr. 124:25-125:13 (Ex.

73); Lien (Marin) Tr. 108:7-17 (Ex. 69). A Bing feature equivalent was not always available

when SA360 integrated each Google Ads feature it supports. Utter (Microsoft) Tr. 39:24-44:16

(Ex. 66). For example, Microsoft Ads launched dynamic search ads after Google Ads launched

dynamic search ads. See id.

        300.   Some delay in developing Microsoft features after launch of parallel Google Ads

features was common among SEM tool providers. Lien (Marin) Tr. 108:7-17 (Ex. 69);



VIII. Microsoft Ads Features at Issue

        A.     Auction-Time Bidding (aka Automated or Autobidding)

        301.   At Google, “Auction-Time Bidding” refers to a specific feature of Google Ads

that was built and launched for SA360 in September 2019. See Google, Google Ads auction-time



                                                74
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 75 of 80




bidding comes to Search Ads 360, dated September 18, 2019, available at

https://www.blog.google/products/marketingplatform/360/google-ads-auction-time-bidding-

comes-search-ads-360/ (“Smart Bidding in Google Ads uses machine learning to set bids at

auction-time by factoring in a wide range of signals that help predict performance. Now you can

take advantage of Google Ads auction-time bidding in your Search Ads 360 bid strategy.”) (last

accessed Dec. 9, 2022).

        302.    Microsoft uses several terms interchangeably to mean the same set of its own

bidding features, “automated bidding,” “autobidding,” and “auction-time bidding.” See Heath

(Microsoft) Tr. 13:3-19 (Ex. 65)




                                                                          ; see also Microsoft,

Microsoft Automated Bidding, available at https://about.ads.microsoft.com/en-

us/solutions/tools/automated-bidding (last accessed Dec. 5, 2022) (Ex. 95).

        303.    Auction-time or “automated” bidding is a certain type of bidding for ads.

Microsoft’s automated bidding enables advertisers to set campaign parameters and allow the

platform to adjust bids in response to “near real-time” signals. See supra ¶ 273; Utter (Microsoft)

Tr. 100:2-24 (Ex. 66)




                                                                                            The

default setting for Microsoft Ads’ automated bidding (what Microsoft calls “Enhanced CPC”)

automatically adjusts bids in real-time. See Microsoft Ads, Let Microsoft Advertising manage




                                                 75
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 76 of 80




your bids with bid strategies, available at https://help.ads.microsoft.com/apex/index/3/en/56786

(last accessed Dec. 5, 2022) (Ex. 104).

        304.    “Non-last click attribution” or “fractional conversions” refers to an attribution

model that gives partial credit to multiple clicks by a user. See Krueger (Google) Tr. 201:17-

203:17 (Ex. 86) (comparing “last click only” attribution to “non-last click” attribution).




                                                        In the context of building out feature

support for Microsoft’s automated bidding technology on SA360, Google requested that

Microsoft develop fractional conversions. Indacochea (Google) Tr. 109:11-111:2 (Ex. 72) (“It

was requested to Microsoft to build certain aspects to get closer to Google, like fractional

conversions. And the fractional conversion means not every conversion belongs to a specific

action that it takes. Sometimes you’re interested in that user by more than one. Microsoft didn’t

support that before, so they needed to support it to be in a similar feature set than Google Ads.”);




        305.




                                                 76
Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 77 of 80




306.




307.




308.




309.




                               77
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 78 of 80




        B.      Call Extension, Local Inventory Ads, Dynamic Search Ads, & Responsive
                Search Ads

        310.




        311.    Google publicly announced the new version of SA360 via a blog post in February

2022, including descriptions of support for responsive search ads, call extensions, and local

inventory ads on Microsoft Ads in the new version of SA360. See Google, Introducing the new

Search Ads 360, available at https://blog.google/products/marketingplatform/360/introducing-

new-search-ads-360/ (“[T]he new Search Ads 360 introduces support for . . . over ten additional

Microsoft Ads features including responsive search ads, call extensions, local inventory ads and

additional Microsoft audience types like customer match”) (last accessed Dec. 8, 2022) (Ex. 102).

        312.    Dynamic search ads for Microsoft Ads is supported in the new version of SA360.

Indacochea (Google) Decl. ¶¶ 7, 10 (Ex. 80); see also Search Ads 360 (new experience) Help,

Dynamic Search Ads for Microsoft Advertising, available at

https://support.google.com/sa360/answer/9838683 (last accessed Dec. 9, 2022).

        313.    Google will migrate customer data to the new product, and notify customers when

migration is ready to occur. See Search Ads 360 (new experience) Help, Welcome to the new

Search Ads 360 Experience, available at

https://support.google.com/sa360/answer/9359572?hl=en-AU (last accessed Dec. 9, 2022).



                                                Indacochea (Google) Decl. ¶ 9 (Ex. 80).

Advertisers using the new SA360 platform can use call extensions, dynamic search ads,




                                                 78
        Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 79 of 80




responsive search ads, and local inventory ads for Microsoft Ads. Indacochea (Google) Decl. ¶

10 (Ex. 80).




                                               79
      Case 1:20-cv-03010-APM Document 559 Filed 03/13/23 Page 80 of 80




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                                     80
